                             Case 1:20-cr-00046-UNA Document 8 Filed 01/28/20 Page 1 of 1
U.S. Department of Justice
UnI ted States Attorney

                                                                                                           1ILcLJ    H’~ CHAMBERS
                                                                                                                   U.S.Dc Atlanta
                                                                                                                         -



                                      IN THE UNITED STATES DISTRICT COURT
                                          FOR THE NORTHERN DISTRICT OF GEORGIA                                     AN 282020
                                                                   Division: Atlanta                      By: James N. ~ 9erk
                                                                   (USAO: 2017R00688)

                                 DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION


 COUNTY NAME:                Fulton                                      D1STRI~ COURT NO.        1    :20         C II 0 4 6
                                                                                                      UNDER SEAL
                                                                         MAGISTRATE CASE NO.

 X Indiciment                                      Information                          Magistrates Complaint
 DATE: January 28, 2020                            DATE:                                DATE:

                              UNITED STATES OF AMERICA                  SUPERSEDING INDI      MENT
                                         vs.                            Prior Case Number:
                                       XU KE                            Date Filed:

 GREATER OFFENSE CHARGED: X Felony Misdemeanor

                                             Defendant Information:
Is the defendant in custody? Yes X No
Will the defendant be arrested pending outcome of this proceeding? X Yes                     No
Is the defendant a fugitive? Yes X No
Has the defendant been released on bond? Yes X No

Will the defendant require an interpreter7               Yes     X No




District Judge:


Attorney: Nathan P. Kitchens
Defense Attorney:
